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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                              )
JENNIFER JALBERT, individually and            )
on behalf of all others similarly situated,   )
       Plaintiffs,                            )
                                              )
v.                                            )       Civil Action No. 1:15-cv-I0452-NMG
                                              )
GRADUATE LEVERAGE, LLC and                    )
DANIEL THIBEAULT,                             )
     Defendants.                              )
------------- )

     [PROPOSE])] ORDER GRANTING CLASS CERTIFICATION, AUTHORIZING
      NOTICE, AND SCHEDULING AN ASSESSMENT OF DAMAGES HEARING

       This matter comes before the Court as a putative class action alleging violations of the

Fair Labor Standards Act, 29 U.S.C., §§ 201, et seq. ("FLSA"), the Massachusetts Wage Act, G.

L. c. 149, §§ 148 and ISO, and common law claims of quantum meruit; wherein a default has

entered against both defendants Graduate Leverage, LLC ("GL") and Daniel Thibeault

(collectively "Defendants"). Plaintiff has filed a motion seeking class certification, an order

authorizing notice to members of the Class, and a default judgment against the Defendants. The

Court has reviewed the motion and supporting materials and hereby ORDERS as follows:

      1.        Pursuant FED. R. CIV. P. 23 and 29 U.S.C., § 216(b), the Court hereby certifies the

Action as a class action. There shall be two Subclasses, including: (I) the FLSA Subclass; and

(2) the Wage Act Subclass.

      2.        Class certification is GRANTED to the FLSA Subclass, defined as: "all current

and former United States based employees of Graduate Leverage, LLC who did not receive

payment of earned salary or wages from November 1,2014 through the present."

      3.        Class certification is also GRANTED to the Wage Act Subclass pursuant to G. L.
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c. 149, § 150 and FED. R. CIV. P. 23. The Wage Act Subclass shall be defined as: "all current

and former Massachusetts based employees of Graduate Leverage, LLC who did not

receive payment of any earned compensation including salary, wages, commissions,

bonuses, expenses, earned time off, or vacation pay from November 1,2014 through the

present."

     4.         The Court concludes that the requirements of FED. R. CIv. P. 23 have been met.

          (a)   The members of the Class are so numerous that separate joinder of each member
                is impracticable;

          (b)   Plaintiffs claims raise questions of law and fact common to the questions of law
                or fact raised by the claims of each member of the Class;

          (c)   Plaintiffs claims are typical of the claims of the members of the Class for
                settlement purposes because their claims arise from the same factual events and
                legal theories;

          (d)   Plaintiff and Class Counsel can fairly and adequately protect and represent the
                interests of the Class and there are no conflicts of interest among members of the
                Class;

          (e)   Questions of law or fact common to the members of the Class predominate over
                any questions affecting only individual members; and

          (f)   A class action is superior to other available methods for the fair and efficient
                resolution of the controversy presented by the Litigation.

     5.         The Court appoints Joshua N. Garick, Esq. of the Law Offices of Joshua N.

Garick, P.C. as "Class Counsel" pursuant to FED. R. CIV. P. 23(g). Class Counsel has extensive

knowledge in litigating wage and hour class actions such as this, is familiar with the complex

factual and legal questions at issue in this Litigation, and will adequately represent the Plaintiff

and members of the Class in a comprehensive and vigorous manner.

     6.         The Court appoints Jennifer Jalbert as "Class Representative" in both the FLSA

Subclass and the Wage Act Subclass. She, together with Class Counsel, is hereby authorized to
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act on behalf of member of the Class with respect to the Litigation.

      7.        The Court approves, as to form and content, the Notice and Claim Form, and

authorizes their distribution, finding that the mailing and distribution of the Notice and Claim

Form in the manner requested meets the requirements of FED. R. CIY. P. 23 and due process, is

the best notice practicable under the circumstances, and shall constitute due and sufficient notice

to all persons entitled thereto.

      8.        Class members wishing to opt-out of the Wage Act Subclass for purposes of FED.

R. CIY. P. 23 shall sign and timely mail a written, signed request for exclusion to Class Counsel

clearly expressing his or her desire and manifesting his or her intent to be excluded from the

Class and comply with the requirements in the Notice, including providing his or her name,

address, and telephone number. To be effective, said request for exclusion must be postmarked

on or prior to the deadline set forth in the Notice. Members of the FLSA Subclass must "opt-in"

by submitting a Claim Form and otherwise complying with the requirements in the Notice. To

be effective, said request to "opt-in" to the FLSA Subclass must be postmarked on or prior to the

deadline set forth in the Notice.

      9.        Defendants shall provide Plaintiff with a list of all current and/or former

employees of Graduate Leverage, LLC from November 1, 2014 through the present, including

the names, last known addresses, and a list of the form and amounts of compensation owed to

each member of each Subclass. The Defendants shall produce this list to Class Counsel on or
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before 5:00 p.m. on E:s i j '5 5 May 1, 2015.

     10.        Should Defendants fail to provide Plaintiff with the information set forth in

paragraph 9, above, the Defendant is ORDERED to appear at a hearing before this Court to show

cause as to why they should not be held in Contempt of Court. This Show Cause Hearing shall
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be scheduled for   M6"(h,)(,~~
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                               / 5' ,2015, at
                               -­
                                                     3:""       :a:m.lp.m., in Courtroom 4 at the

United States District Court for the District of Massachusetts in Boston.

    11.        An Assessment of Damages Hearing shall be scheduled before this Court on

MOl\d~~Avau1Ll.Z 2015, at         3 :00     ~/p.m., in Courtroom 4 at the United States

District Court for the District of Massachusetts in Boston.




IT IS SO ORDERED.


Dated:      /fly   J~ :l.()/~
